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EXHIBIT C
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GEORGETOWN UNIVERSITY
PRISON SCHOLARS PROGRAM AT THE DC JAIL

CERTIFICATE OF ACHIEVEMENT

This certificate Ils presented to

ZACHARY RAGONE

for completing four courses during the Fall 2019 semester

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Marc M. Howard Joshua Miller
DIRECTOR, PRISONS AND DIRECTOR OF EDUCATION,
JUSTICE INITIATIVE PRISONS AND JUSTICE

INITIATIVE

 
 

 

 

Gpon recommendation of the Director of the BC Department of Corrections

Zachary Ragone

Certificate of Completion

This certificate is awarded for the completion of the Fall 2019 Semester academic Cte

 

course work offered by Georgetown Aniversityp se
Awarded on this 20° dap of December, Two thousand and nineteen. ceake

 

 

Tabitha Burnett
College Administrator

 

 

 
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Gypon recommendation of the Director of the DC Department of Corrections

Zachary Ragone
Certificate of Completion

This certificate ts awarded for the completion of the Spring 2019 Semester
academic course work offered by Howard Aniversity
Awarded on this 15th day of May, Two thousand and nineteen.

 

 

 

a
Clarence Humes\, Jy.
Education Admini vator

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ServSafe

National Restaurant Association

®

ServSafe
CERTIFICATION

ZACHARY RAGONE

for successfully completing the standards set forth for the ServSafe® Food Protection Manager Certification Examination
which is accredited by the American National Standards Institute (ANSI)-Conference for Food Protection (CFP).

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5438
EXAM FORM NUMBER

7/17/2024
DATE OF EXPIRATION

ency for recertification requirements.

           

DATE OF EX”
Local laws apply. Chee

 

 

ACCREDITED PROGRAM
American National Standards Institute
and the Conference for Food Protection ®

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Association Solutions

 

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Contact us with questions at 233 $. Wacker Drive, Suite 3600, Chicago, IL. 60606-6383 or ServSafe@restaurant.org.
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D.C. Public Library

Summer Reading Certificate
6 hereby grauted to

Zachary Ragone

July 9, 2019

 

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Dc public library

 

 
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THIS CERTIFICATE ACKNOWLEDGES THAT

_ PARTICIPATED IN THE 2019 SPRING INTO THE NEW FAMILY REUNIFICATION DAY
i EVENT, ON THIS 307! DAY OF MARCH 2019.

    
     

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0 JACQUELINE E. WILLIAMS - CAMILE WILLIAMS
At PROGRAM ADMINISTRATOR DEPUTY DIRECTOR OF PROGRAMS AND CASE MANAGEMENT
Mt DC DEPARTMENT OF CORRECTIONS DC DEPARTMENT OF CORRECTIONS

 

        
      

 

 

 

 

 
